Dear Chief Ussin:
You advise this office that you hold full-time employment as a paid firefighter in your position as Fire Chief for the Herbert Wallace Volunteer Fire Department, located in Avondale, Louisiana. This position is funded by the Jefferson Parish government.
You also hold full-time employment as a paid firefighter for the City of Westwego, a position which falls within the municipal fire and police civil service. You ask if state law prohibits you from holding both positions.
The Louisiana Dual Officeholding and Dual Employment Law, La.R.S.42:61, et seq., sets forth those positions of public office and/or public employment which may not be held at the same time. Applicable here is La.R.S. 42:63(E), providing:
  E. No person holding a full-time appointive office or full-time employment in the government of this state or of a political subdivision thereof shall at the same time hold another full-time appointive office or full-time employment in the government of the state of Louisiana, in the government of a political subdivision thereof, or in a combination of these.
Under La.R.S. 42:63(E), an individual is prohibited from holding two "full-time" employments. La.R.S. 42:62(4) and (5) define "full-time" and "part-time" as follows:
  (4) "Full-time" means the period of time which a person normally works or is expected to work in an appointive office or employment and which is at least seven hours per day of work and at least thirty-five hours per week of work. *Page 2 
  (5) "Part-time" means the period of time which a person normally works or is expected to work in an appointive office or employment which is less than the number of hours of work defined in this Section as full-time.
La.R.S. 42:63(E) prohibits one from holding two full-time employments, but does not prohibit one from holding two public employments where one position is held on a part-time basis. While state law prohibits you from holding two full-time employments as a firefighter, we suggest that reducing the work hours of one of your positions to less than thirty-five hours per week would cure the current illegality.
Our conclusion here is consistent with La. Atty. Gen. Op. 09-0053 (copy attached), in which we advised your Assistant Chief, Mr. Leroy Daniels, that compliance with state law would require him to reduce the work hours of one of two full-time employments he holds as firefighter.
This opinion is limited to an examination of the dual officeholding and dual employment provisions, and does not address any civil service regulations applicable to you which might otherwise present a prohibition or conflict. For an answer in this regard, we suggest you contact your local fire and police civil service board.
We hope the foregoing is helpful to you. Should you have other questions in which we may provide assistance, please contact this office.
  Very truly yours,
  JAMES D. "BUDDY" CALDWELL
  ATTORNEY GENERAL
  BY:__________________________
  KERRY l .kILPATRICK
  ASSISTANT ATTORNEY GENERAL
  KLK:arg